     Case 2:11-cv-02405-KDE-KWR Document 216 Filed 02/07/17 Page 1 of 1




                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


WASTE MANAGEMENT OF                 *
LOUISIANA, L.L.C.                   *               CIVIL ACTION NO.: 2:11-cv-02405
                                    *
                                    *
VERSUS                              *               JUDGE: KURT D. ENGELHARDT
                                    *
                                    *
RIVER BIRCH, INC., ET AL            *               MAGISTRATE: KAREN WELLS ROBY
                                    *
*************************************


                                          ORDER

       Considering the Joint Motion for Leave to Take Deposition of Prisoner filed by plaintiff,

Waste Management of Louisiana, LLC, and defendants, River Birch, LLC f/k/a River Birch, Inc.,

Highway 90, LLC, Frederick R. Heebe, and Albert J. Ward, Jr.;

       IT IS ORDERED that the Joint Motion for Leave to Take Deposition of Prisoner is

granted and C. Ray Nagin shall appear for his deposition at the Texarkana Federal Correctional

Institution on March 13 or 15, 2017, or such other mutually acceptable date.

                                      6th
       NEW ORLEANS, LOUISIANA, this ________         February
                                             day of _______________, 2017.



                                            _______________________________
                                            HON. KURT D. ENGELHARDT
                                             United States Magistrate Judge
                                            UNITED STATES DISTRICT JUDGE
